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 8                                     UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    LARRY WILLIAM CORTINAS,                            No. 2:21-cv-0611 TLN AC P
12                        Plaintiff,
13            v.                                         FINDINGS AND RECOMMENDATIONS
14    KATHERINE NEEL, et al.,
15                        Defendants.
16

17          Plaintiff is a former state prisoner proceeding pro se with a civil rights action pursuant to

18   42 U.S.C. § 1983. On March 7, 2024, the court received plaintiff’s opposition to defendant

19   Soltanian-Zadeh’s motion for summary judgment, in which he requested a forty-five day stay of

20   this case based on his release from prison on February 29, 2024. ECF No. 73 at 1-2. Plaintiff’s

21   request for a stay was granted to the extent that briefing on the motion for summary judgment was

22   stayed pending plaintiff’s filing of a notice of change of address. ECF No. 2. In granting the

23   request, the court noted that the California Department of Corrections and Rehabilitation’s

24   (CDCR) inmate information site indicated that plaintiff had been released from custody and

25   cautioned that it would be recommended this case be dismissed for failure to prosecute if plaintiff

26   did not file a notice of change of address within sixty-three days. ECF No. 74 at 2 (citing L.R.

27   183(b)). More than sixty-three days have passed, the CDCR’s inmate information site still

28   indicates that plaintiff is out of custody, and plaintiff has not filed a notice of change of address or
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 1   otherwise responded to the court’s order.
 2          Accordingly, IT IS HEREBY RECOMMENDED that this action be dismissed without
 3   prejudice for failure to prosecute. See L.R. 183(b).
 4          These findings and recommendations are submitted to the United States District Judge
 5   assigned to the case, pursuant to the provisions of 28 U.S.C. § 636(b)(l). Within fourteen days
 6   after being served with these findings and recommendations, plaintiff may file written objections
 7   with the court. The document should be captioned “Objections to Magistrate Judge’s Findings
 8   and Recommendations.” Any response to the objections shall be filed and served within fourteen
 9   days after service of the objections. Plaintiff is advised that failure to file objections within the
10   specified time may waive the right to appeal the District Court’s order. Martinez v. Ylst, 951
11   F.2d 1153 (9th Cir. 1991).
12   DATED: May 30, 2024
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